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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


UNITED STATES OF AMERICA,                     )      CASE NO. 1:07CR322 (Defendant #1)
                                              )
                                              )      JUDGE PETER C. ECONOMUS
                       Plaintiff,             )      Magistrate Judge George J. Limbert
                                              )
               v.                             )
                                              )
JOHN JENKINS,                                 )      REPORT AND RECOMMENDATION
                                              )      OF MAGISTRATE JUDGE
                       Defendant.             )


       Pursuant to General Order 99-49, this case was referred to United States Magistrate Judge

George J. Limbert for the purposes of receiving, on consent of the parties, Defendant’s offer of

a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim

record of the proceedings to be prepared, referring the matter for presentence investigation, and

submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

accepted and a finding of guilty entered. ECF Dkt. #35. The following, along with the transcript

or other record of the proceedings submitted herewith, constitutes the Magistrate Judge’s Report and

Recommendation concerning the plea of guilty proffered by Defendant.

       1.      On September 4, 2007, Defendant John Jenkins, accompanied by Attorney Damian

Billak, proffered a plea of guilty.

       2.      Prior to such proffer, Defendant John Jenkins was examined as to his competency,

advised of the charges and consequences of conviction, informed that the Court is not bound to

apply the Federal Sentencing Guidelines but must consult the guidelines and take them into
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consideration when it imposes the sentence, notified of his rights, advised that he was waiving all

of his rights except the right to counsel, and, if such were the case, his right to appeal, and otherwise

provided with the information prescribed in Fed. Crim. R. 11.

        3.      The parties and counsel informed the Court that there was a written, signed plea

agreement between the parties. The undersigned was advised that no commitments or promises have

been made by any party, and no other agreements, written or unwritten, have been made between

the parties.

        4.      The undersigned questioned Defendant John Jenkins under oath about the knowing,

intelligent and voluntary nature of the plea of guilty, and the undersigned believes that Defendant

John Jenkins’ plea was offered knowingly, intelligently, and voluntarily.

        5.      The parties provided the undersigned with sufficient information about the charged

offenses and Defendant John Jenkins’conduct to establish a factual basis for the plea.

        In light of the foregoing, and the record submitted herewith, the undersigned concludes that

Defendant John Jenkins’ plea was knowing, intelligent and voluntary and all requirements imposed

by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Accordingly, the

undersigned recommends that the plea of guilty be accepted and a finding of guilty be entered by

the Court.

                                                              /s/George J. Limbert
Date: September 4, 2007                                         George J. Limbert
                                                        United States Magistrate Judge

       ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of
Court within ten (10) days of service of this notice. Failure to file objections within the specified
time WAIVES the right to appeal the Magistrate Judge’s recommendation. See Thomas v. Arn, 474
U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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